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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

CENTRUST BANK                               )
,                                           )
                                            )       Case Number: 21-cv-02576
                              Plaintiffs,   )       (Related Case: 21-cv-02702)
                                            )
               v.                           )       Honorable Judge Sara L. Ellis
                                            )
RUBEN YBARRA, YRY HOLDINGS,                 )       Magistrate Judge Maria Valdez
LLC, and BOULDER HILL                       )
APARTMENTS,                                 )
                      Defendants.           )
CNTRUST DEBT RECOVERY,                      )
BRUCE TEITELBAUM,                           )
                                            )
                              Plaintiffs,   )
                                            )
               v.                           )
                                            )
RUBEN YBARRA, YRY HOLDINGS,                 )
LLC, and BOULDER HILL                       )
APARTMENTS,                                 )
                      Defendants.           )

DEFENDANTS’ COMBINED REPLY IN SUPPORT OF DEFENDANTS’ MOTIONS TO
        DISMISS PURSUANT TO FED. R. CIV. P. 12(b)(1) and 12(b)(6)

       NOW COME Defendants, RUBEN YBARRA (“Ybarra”), YRY HOLDINGS, LLC,

(“YRY”) and BOULDER HILL APARTMENTS (“BHA”) (collectively, “Defendants”), by and

through their attorneys, Rakesh Khanna and Christopher V. Langone, and as Defendants’

Combined Reply in Support of Defendants’ Motions to Dismiss Pursuant to Fed. R. Civ. P. 12(b)(1)

and 12(b)(6), state as follows:

                                     I.     INTRODUCTION

       Plaintiffs’ attacks on Ruben Ybarra are an irrelevant red herring, calculated to attempt to

inflame and prejudice the Court. Ruben Ybarra’s conduct, more than a decade ago, which has been




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adjudicated by the OCC, has nothing to do with the lawsuit currently pending before the Court (or

the one that is allegedly threatened). This Court should not countenance such efforts.

       Moreover, there is nothing wrong with a judgment debtor buying a judgment against it; the

judgment creditor was willing to sell the judgment to an entity controlled by (or friendly to) the

judgment debtor. There was no “fraud on the court” in state court – and if there was, then Centrust

Bank, N.A. (“Centrust”) and its allies, CNTRST Debt Recovery (“CDR”) and Bruce Teitelbaum

(“Teitelbaum”) (collectively “Plaintiffs”) should be taking the matter up before Judge Heneghan.

Plaintiffs could have made a motion for sanctions or fees before the state court if they truly

believed a “fraud” was perpetrated on that Court. Indeed, Judge Heneghan is in the best position

to know if he had been deceived or defrauded in any way.

       Regardless, Plaintiffs do not make an adequate showing regarding ripeness or the threat of

“immediate coercive consequences” to satisfy their burden for a Declaratory Judgment, and do not

state a claim for abuse of process – nor do Plaintiffs satisfy the amount in controversy.

                                        II.     ARGUMENT

A.     Plaintiffs have not met their burden in showing there exists a actual controversy of
       sufficient immediacy and reality such that Plaintiffs are suffering immediate coercive
       consequences; a subjective “fear” of a lawsuit is not sufficient.

       Plaintiffs have not met their burden in seeking a declaratory judgment, in showing that

there exists an “actual controversy” of “sufficient immediacy and reality.” GNB Battery

Technologies, Inc. v. Gould, Inc., 65 F.3d 615, 620 (7th Cir. 1995). Maryland Casualty Co. v.

Pacific Coal Oil Co., 312 U.S. 270, 273 (1941) (The test to be applied to is “whether . . . there is

a substantial controversy, between parties having adverse legal interests, of sufficient immediacy

and reality to warrant the issuance of a declaratory judgment.”); Nucor Corp. v. Aceros Y Maquilas




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De Occidente, 28 F.3d 572, 577 (7th Cir. 1994) (same). The test is not, as Plaintiffs suggest,

whether they have a subjective fear of being sued.

       The Seventh Circuit address this standard in some detail in Nuclear Engineering Company

v. Scott, 660 F.2d 241 (7th Cir. 1981), stating: “At the time NEC's complaint was filed, the alleged

controversy between it and defendant Scott was based entirely upon his April 22, 1980

announcement that he intended at some future date to bring an action against NEC alleging

violations of Illinois' environmental protection laws.” 660 F.2d at 252. While noting that “a

plaintiff need not always await the actual commencement … proceedings … for “such an action

to present a justiciable controversy the threat of enforcement must have immediate coercive

consequences of some sort upon the plaintiff. Id. (emphasis added), citing Poe v. Ullman, 367

U.S. 497, 508 (1961). The only allegation in NEC's complaint that Scott's threatened action is

causing immediate consequences to NEC is its allegation that existing and potential customers and

potential investors are being lost. Id. The Seventh Circuit found this allegation insufficient.

       In this case, there are no allegations whatsoever regarding “immediate coercive

consequences.” Instead, it seems Plaintiffs are simply trying to launch a pre-emptive attack to

engage in forum shopping. But as the Seventh Circuit noted, “[A] suit for declaratory judgment

aimed solely as wresting the choice of forum from the ‘natural’ plaintiff will normally be dismissed

and the case allowed to proceed in the usual way. Allendale Mut. Ins. Co. v. Bull Data Sys., Inc.,

10 F.3d 425, 4321 (7th Cir. 1993).

       1.      The Nucor factors favor Defendants.

       In Nucor Corp. v. Aceros Y Maquilas De Occidente, 28 F.3d 572 (7th Cir. 1994) the

Seventh Circuit articulated five factors to consider based on the Supreme Court’s decision Green

v. Mansour, 474 U.S. 64, 72-73 (1985), as follows:




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               (1)    whether the judgment would settle the controversy;
               (2)    whether the declaratory judgment action would serve a useful
                      purpose in clarifying the legal relations at issue;
               (3)    whether the declaratory remedy is being used merely for the purpose
                      of "procedural fencing" or "to provide an arena for a race for res
                      judicata";
               (4)    whether the use of a declaratory action would increase friction
                      between our federal and state courts and improperly encroach on
                      state jurisdiction, and
               (5)    whether there is an alternative remedy that is better or more
                      effective.
               (Hereinafter the “Factors”)

28 F.3d at 579. Here, these Factors weigh against allowing the declaratory judgment to proceed.

       First, the hypothetical threatened lawsuit could include claims other than malicious

prosecution – it could include negligence or intentional interference with prospective economic

advantage. For instance, the last five (5) bullet points in the demand letter all make allegations of

negligence. So even if this Court “declared” Ybarra and YRY do not have a valid claim for

malicious prosecution, the hypothetical lawsuit could still include claims for negligence – in other

words, a declaration would not settle all claims in the controversy.

       As to the second Factor, there is no “legal relations” to be declared. This case is not, for

instance, a situation where an insurance company is seeking a ruling on a coverage issue. There is

no pending contractual or other relationship that requires judicial interpretation.

       The third Factor strongly favors Defendants, who are engaged in procedural fencing and

forum shopping. As one court stated, “The wholesome purpose of declaratory acts would be

aborted by its use as an instrument of procedural fencing either to secure delay or to choose a

forum." American Automobile Insurance, 103 F.2d at 617. And Justice Brennan once commented,

“[T]he federal declaratory judgment is not a prize to the winner of the race to the

courthouse.'" Factors Etc., Inc. v. Pro Arts, Inc., 579 F.2d 215, 219 (2d Cir. 1978) (quoting Perez

v. Ledesma, 401 U.S. 82, 119 n.12 (1971) (Brennan, J., dissenting)).



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        The fourth Factor also favors refusing to make a declaratory judgment. The disputed issues

are of unique interest to Illinois state courts. It involves conduct before a state judge, and an alleged

“fraud” on a state court. If the threatened lawsuit was actually filed, then Defendants would be

asking this court to abstain under the Wilton-Brillhart doctrine. See Wilton v. Seven Falls Co., 515

U.S. 277 (1995); Brillhart v. Excess Ins. Co. of Am., 316 U.S. 491 (1942).

        The fifth Factor queries whether there is a better remedy. There is: if a state court

Complaint is filed, let it play out in state court. This Court should not indulge Plaintiff’s procedural

fencing and forum shopping.

        2.      Centrust’s arguments regarding the facts are wrong.

        Centrust claims its declaratory judgment claims are fit for judicial determination because

they involve purely legal questions arising out of fully developed facts. Centrust’s claim, however,

is not one that presents “purely legal issues.” Indeed, as an intentional tort, malicious prosecution

depends on intent evidence, which is not a pure legal issue and will required fact development and

discovery. Defendants’ statement “Centrust merely asks the Court to determine whether it

committed a tort,” is amusing in its use of “merely.” After all, isn’t every tort suit ever filed

“merely” asking the court to determine whether defendant(s) committed a tort?

        Plaintiffs also contradict themselves. They argue on the one hand that “the Court does not

need to worry about the facts changing because the Post-Judgment Proceedings are finished”

(Centrust Brf. at 6); but then, on the other hand, they argue that delay is prejudicial because

“memories fade” and “exculpatory” evidence lost (Centrust Brf. at 7). If the proceedings were

truly “finished,” memories would not be an issue and any “exculpatory” evidence already in the

record. And the issue of “fading” memories is adequately protected under the existing law of

statute of limitations and doctrines such as latches. (See Factor 5, regarding alternative remedies).




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B.      The Diversity allegations fail to meet the amount in controversy requirement.

        Based on the authority cited in the response brief regarding the sufficiency of the

citizenship allegations for the members of a limited liability company – and the fact that

Defendants will represent that discovery would show YRY has no Illinois or Delaware members

as of the date of the filing of this action – Plaintiffs will concede the issue regarding the sufficiency

of the citizenship allegations. The amount in controversy, however, is still an issue.

        It is a legal certainty that responding to subpoenas could not possibly have cost more than

$75,000 in attorneys’ fees. The alleged “abuse of process” is the issuance of discovery. As noted

in Defendants’ moving papers, discovery (apart from subpoenas) is not process. And under no

circumstances would a court find reasonable this amount of money in responding to the identified

subpoenas. The fact that Mr. Tannen claimed the damages in the hypothetical lawsuit is similarly

irrelevant because the Declaratory Judgment Act cannot confer jurisdiction independently – if the

Declaratory Judgment Act is not ripe, then the only basis for federal jurisdiction would be if the

“abuse of process” claim exceeds $75,000 – and it does not.

C.      The abuse of process allegations fail to state a claim.

        Defendants argued in their moving papers that apart from subpoenas, “discovery” is not

process. Defendants cited Illinois case law on this point. Accordingly, Centrust’s citation to an

Arizona case (Nienstedt v. Wetzel, 133 Ariz. 348, 354 (1982)), interpreting Arizona law on the

definition of “process” is not applicable. The fact that Arizona allows discovery to count as

“process” is irrelevant; Illinois does not. Similarly, the other non-Illinois cases, interpreting non-

Illinois law, have no bearing on Plaintiffs’ claims in this lawsuit, which undisputedly is governed

by Illinois law.




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       Centrust falsely states: “No Illinois court has ever held the act of issuing discovery is

immune from scrutiny as an abuse of process” (Centrust Motion at 5). Holiday Magic, Inc. v. Scott

4 Ill. App. 3d 962 is precisely such a case. And not only was Holiday Magic cited by Defendants,

it was block-quoted on this precise point. Id. at 968. Perhaps even more stunning, is that Plaintiffs

do not, in either of their two briefs, discuss the Illinois Appellate Court’s decision in Sweports,

which Defendants highlighted as the Illinois Appellate Court’s most recent pronouncement on the

case, the case having been decided June 30, 2021. In that case, the Court rejected the notion that

“filing multiple lawsuits” was not even deemed abuse of process – because even lawsuits

themselves are not deemed process. Yet, Plaintiffs want this court to follow an Arizona court’s

decision from six decades ago rather than the Illinois Supreme Court’s most recent

pronouncement.

       The Sweports case was block quoted, at length, to highlight its applicability. Plaintiffs do

not address or attempt to distinguish Sweports. This is fatal to their argument. Sweports is

dispositive.

       Indeed, CDR/Teitelbaum cite Sweports only out-of-context (and Centrust does not cite

Sweports at all). CDR/Teitelbaum cites the case for the following language: “‘Process’” has been

defined as any means used by the court to acquire or exercise its jurisdiction over a person or over

specific property. (CDR/Teitelbaum Brf., at p. 14). But the very next sentence is: “For example,

the plaintiffs' allegation that Abrams knowingly filed a time-barred derivative action is based on a

"pleading" - not a court "process" - and is thus outside of the scope of an abuse of process claim.”

If knowingly filing a time-barred action does not constitute an abuse of process then, a fortiori,

issuing discovery to discover potential claims does not.




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       There is even more that is helpful in the Sweports decision to Plaintiff, for instance, one of

the cases relied upon by Sweports, and cited in the block quote, was Erlich, 195 Ill.App.3d at 539,

where the Sweports case cited with approval its holding that “even if the parties made false

representations to the court to obtain a temporary restraining order (TRO), the ‘seeking and

obtaining of a TRO was done in the regular prosecution.’” In a similar vein, even if the

complained-of discovery was issued under false pretenses (or even “fraud on the court”), issuing

and receiving written discovery, including subpoenas, is something that is done in regular

prosecution of civil proceedings.

       The Sweports court then noted that although not strictly required, the tort of abuse of

process generally required an arrest or seizure of property. Being the recipient of unwanted

discovery is hardly akin to arrest or seizure of property. This case should be dismissed.

       WHEREFORE, Defendants request that Plaintiffs, Centrust Bank, N.A., CNTRST Debt

Recovery and Bruce Teitelbaum’s Complaints be dismissed pursuant to Federal Rules 12(b)(1)

and/or 12(b)(6); and for such further and other relief as this Court deems just and proper.

                                                      Respectfully Submitted

                                                      RUBEN YBARRA, YRY HOLDINGS,
                                                      LLC, and BOULDER HILL
                                                      APARTMENTS, Defendants



                                                      By: /s/ Christopher V. Langone
                                                            One of their attorneys

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                                CERTIFICATE OF SERVICE

         I, Christopher V. Langone, certify that on September 20, 2021, I caused Defendants’
Combined Reply in Support of Defendants’ Motions to Dismiss Pursuant to Fed. R. Civ. P.
12(b)(1) and 12(b)(6) to be filed electronically. Notice of these filings was sent to all parties
registered with the court’s CM/ECF electronic transmission system, including to the following
parties:

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                                    /s/ Christopher V. Langone
                                     Christopher V. Langone




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